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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

 Avalon Holdings Corporation                          )
                                                      )
                               USA / Plaintiff(s)     )
                                                      )
                                    v.                ) Case No.:     18cv7291
                                                      )
 Guy Gentile                                          )
                                                      )
                               Defendant(s)           )
                                                      )
                                                      )


                    NOTICE OF FILING OF OFFICIAL TRANSCRIPT


        Notice is hereby given that an official transcript of a status conference
held on 1/22/2020           has been filed by the court reporter/transcriber in the above-captioned
matter.

       Redaction responsibilities apply to the attorneys of record or pro se parties, even if the
person requesting the transcript is a judge or a member of the public or media.

        The parties have seven (7) calendar days from the date of filing of this NOTICE to file
with the court any NOTICE OF INTENT TO REQUEST REDACTION of this transcript. A
copy of said NOTICE must also be served on the court reporter. If no such NOTICE is filed, the
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ninety (90) calendar days.

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Security numbers; dates of birth; minors’ names; and financial account numbers. See Federal
Rule of Civil Procedure 5.2, and Federal Rule of Criminal Procedure 49.1. Parties wishing to
request redaction of other information may proceed by motion.



                                                       Carole Ludwig
                                                      _________________________
                                                             Court Reporter
Date: 10/26/2021
